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 9
                           IN THE UNITED STATES DISTRICT COURT
10
                                      DISTRICT OF ARIZONA
11

12   VIP Products, L.L.C., an Arizona limited            No. 2:14-cv-02057-SMM
     liability company,
13                                                       PLAINTIFF’S REPLY IN SUPPORT OF
                   Plaintiff,                            MOTION TO EXCLUDE TESTIMONY
14                                                       OF DEFENDANT’S EXPERT ITAMAR
            v.                                           SIMONSON
15

16   Jack Daniel’s Properties, Inc., a Delaware
     corporation,
17
                   Defendant.
18

19                                         INTRODUCTION
20          A central issue in this case is whether average consumers believe, or are likely to
21   believe, that a parody dog toy has harmed the reputation of a whiskey beverage. For expert
22   testimony to be admissible, it must be narrowly tailored to fit the issue in question, it must be
23   reliable, and it cannot be based on the pure speculation or ipse dixit of the testifying expert.
24   The proposed testimony of Defendant’s expert Simonson—even if the Court were to consider
25   untimely declaration submitted in opposition to the pending motion—fails that test.
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 1          Simonson could have shown consumer opinions by conducting a survey or focus

 2   group—that is what Plaintiff did when it commissioned several different focus groups to

 3   evaluate the pet toy. Yet, Simonson claims that neither surveys nor focus groups would be

 4   useful in a case like this. He and Defendant claim that there is no scientific methodology that

 5   fits the issue in this case. They claim that the Court should rely solely on the opinion of a

 6   “specialized knowledge” expert who has academic knowledge of theory, but no specialized

 7   knowledge of the products or markets involved. Simonson admits that he does not have any

 8   actual experience with the products or market at issue in this case. He also does not claim to

 9   have any knowledge of what consumers actually think about the two products at issue, and

10   does not claim to have taken any steps to find out. He is adamant that he has based his

11   approach in this case on “scientific bases,” “scientific principles,” “a great deal of research

12   published in numerous scientific publications,” and “widely accepted scientific principles.”

13   Declaration of Itamar Simonson in Support of Defendant’s Opposition to Plaintiff’s Motion

14   to Exclude Testimony of Itamar Simonson (“Simonson Declaration”) at ¶¶ 9-10. Yet, in his

15   new declaration (submitted in untimely fashion after the opening brief on this motion pointed

16   out Simonson’s complete lack of any scientific methodology), Simonson claims that he is a

17   “specialized knowledge” expert as well. Id. at ¶ 5.
18          Simonson, in short, is an expert who claims that he based his approach on science, but

19   who simultaneously (and adamantly) defends his failure to use any scientific methodology to

20   support his conclusions. He claims to be a specialized knowledge expert, but the only
21   specialized knowledge he claims is of general consumer-psychology principles—a scientific

22   field. The Court should disregard the assertions in Simonson’s latest declaration as untimely.

23   However, even if the Court did consider them, these claims still could not save Simonson’s

24   deficient testimony. The “specialized knowledge” category does not include the speculative

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 1   application of general principles by a purported social-science expert, who cannot identify

 2   any scientific methodology that he employed to support his conclusions.

 3          Appellate courts have equipped federal district courts with ample authority and

 4   discretion to exercise their gatekeeper function in excluding expert testimony that lacks

 5   foundation, is unreliable, and does not fit the case. Simonson’s testimony and report fail to

 6   meet these threshold requirements for admission of expert opinion, and, therefore, should be

 7   excluded.

 8                                           ARGUMENT

 9          1.     The District Court’s “Gatekeeper” Role Is not Intended to be a Mere
                   Formality.
10

11          Daubert empowers federal district courts to make a determination, before trial, as to
12   whether proffered expert testimony is sufficiently reliable and thus admissible at trial.
13   Recognizing that a “one size fits all” approach would hamstring district court judges and
14   prevent them from properly exercising their gatekeeping function, the Ninth Circuit has held
15   that a wide variety of factors may be considered by district courts in connection with their
16   gatekeeping function. United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000) (“[F]ar
17   from requiring trial judges to mechanically apply the Daubert factors—or something like
18   them—to both scientific and non-scientific testimony, Kumho Tire heavily emphasizes that
19   judges are entitled to broad discretion when discharging their gatekeeping function.”).
20   Further recognizing the significance of the district court gatekeeping role and the importance
21   of vesting trial judges with full discretion, the Ninth Circuit has ruled that “a trial court not
22   only has broad latitude in determining whether an expert’s testimony is reliable, but also in
23   deciding how to determine the testimony’s reliability.” Hangartner v. Provident Life & Acc.
24   Ins. Co., 373 F.3d 998, 1017 (9th Cir. 2004) (citations omitted) (emphasis in original).
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 1          2.     Simonson’s Testimony Does Not “Fit” This Case.

 2          Defending the need for a “specialized knowledge” expert in this case, Defendant

 3   argues that: “[T]he average person is not familiar with how the brain stores information or

 4   forms associations between nodes of information.” Opposition to Motion to Exclude

 5   Testimony of Defendant’s Expert Itamar Simonson (“Opposition”) at 8:4-5. That, however, is

 6   not the issue in this case. The issue is how the average person reacts to the two products in

 7   this case—whether because of conscious or subconscious impulses, or because of activation

 8   of “nodes,” or for any other reason. Simonson’s report and testimony are devoid of any

 9   factual basis for an opinion about how consumers react to the two specific products at issue

10   in this case. Thus, there is no “fit” between Simonson’s testimony and this case.

11          This was unequivocally established in Simonson’s deposition. The central premise of

12   Simonson’s report is that, because of his familiarity with the “associative network memory

13   model,” he can look at the advertisements, packaging, and branding of one product and

14   determine, without more, whether they will dilute the brand of another product. If Simonson

15   did have such expertise, then he should be able to look at an advertisement for a particular

16   product and determine whether it would dilute Jack Daniels’ brand in the mind of consumers.

17   Yet he was repeatedly unable to do so in his deposition.
18          Exhibit A sets forth Simonson’s testimony, together with images of the exhibits,

19   showing Simonson’s reaction to a series of Jack Daniels’ own advertisements. Simonson was

20   either unable or unwilling to opine as to whether those advertisements would dilute Jack
21   Daniels’ own marks. Defendant argues that, “No expert worth his or her salt would provide

22   an expert opinion on-the-fly without further information, reflection, and thought,” Opposition

23   at 9, n.4—but why? If the associative network memory model is an accurate predictive tool

24   in particular cases as to whether there would be a dilutive effect for average people relating

25   to the particular products at issue, why would Simonson not be able to perform an on-the-

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 1   spot analysis? What is the added “information” that he requires? What further “reflection” is

 2   necessary? What additional “thought” must he engage in, in order to form his opinion? These

 3   questions have not been answered in Simonson’s deposition or in the Opposition. Without

 4   identification of some methodology or other support beyond Simonson’s mere assertions, his

 5   testimony is inadmissible. See S.E.C. v. Tourre, 950 F. Supp. 2d 666, 678 (S.D.N.Y. 2013)

 6   (“Bajaj’s testimony that his opinion as to ‘economically material’ information is based on

 7   ‘economic logic’ is simply a form of inadmissible ipse dixit. The law is clear that mere ipse

 8   dixit is not appropriate expert testimony because it is not based on reliable methodology, as

 9   Daubert requires.”).

10         The fact that Defendant and Simonson do not even agree on what type of expert

11   testimony Simonson has provided is further proof that the testimony is unreliable and lacks

12   foundation. On the one hand, Defendant argues that, because Simonson’s testimony is neither

13   scientific nor technical, it need not be based on a “particular methodology or technical

14   framework.” Opposition at 1:23-2:4. Elsewhere, however, Defendant argues that, “VIP’s

15   claims that Dr. Simonson has not employed a ‘scientific methodology’ are incorrect.” Id. at

16   9:18-19. Yet Defendant never identifies any such “scientific methodology.” In an attempt to

17   plug numerous holes in his report that became apparent after Plaintiff filed its motion to
18   exclude, Simonson submitted an untimely declaration that: describes “the scientific bases”

19   for his conclusions; alleges that his analysis “was based on the same scientific principles”

20   that he uses in his academic work; asserts that “a great deal of research published in
21   numerous scientific publications” supports his opinions; and claims that “my analysis was

22   based on widely accepted scientific principles.” Simonson Declaration at ¶¶ 9-10.

23         Simonson’s new, untimely declaration presents three problems for Defendant. First, it

24   reveals that Defendant felt that Simonson’s initial report and deposition testimony were

25   insufficient to counter the pending motion. Otherwise, there would be no need for a

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 1   supplemental declaration. Second, in his zeal to tout the “scientific basis” and “widely

 2   accepted scientific principles” underlying his report, Simonson forgot that he is not

 3   supposed to be doing science at all. If Simonson’s opinion was scientifically based, it must

 4   be excluded, because it is not supported by anything akin to a scientific methodology. If

 5   Simonson’s opinion was based on real world experience, rather than science, the seeming

 6   inability of both Defendant and Simonson to keep their story straight in that regard is itself

 7   revealing. The failure to state a consistent conceptual basis for Simonson’s testimony is a

 8   product of the fact that Simonson employed no scientific methodology, but also has no

 9   specialized knowledge applicable to the circumstances of the issue at hand.

10           Third, the new declaration should be struck as untimely. It was presented three months

11   after the July 17, 2015 discovery deadline and several months after the expert disclosure

12   deadline. Courts generally do not consider untimely-disclosed expert materials. As Defendant

13   asserted in a brief in this case, “[T]he law on the preclusion issue is cut and dry.” JDPI

14   Opposition to Motion for Clarification, 6:10-11 (citing Hostnut.com, Inc. v. Go Daddy

15   Software, Inc., No. CV05-0094-PHX-DGC, 2006 WL 2573201, *3 (D. Ariz. Sep. 6, 2006)). 1

16           In his new declaration, Simonson argues that his testimony has never been excluded

17   before under Daubert. Without a detailed analysis of his proffered testimony in those cases,
18   however, such an assertion is meaningless. What we do know is that neither of the cases he

19   highlights in Paragraph 17 of his new declaration admitted Simonson’s testimony where (as

20   in this case) he merely reviewed the products at issue, engaged in unspecified “reflection”
21

22   1
         As the Court noted in the August 31 hearing, “Experts have to be told to comply with the
23
     rules. And if they get caught in a cross-examination, they didn't do something, they can't now
24
     say, oops, let me go back and do this all over again. ” [Transcript of hearing dated August 31,
25
     2015, 30:12-31:3].
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 1   and “thought,” and issued his opinion as to dilution. In Visa International Service Association

 2   v. JSL Corporation, the court noted that Simonson “presents an opinion on the likelihood that

 3   actual dilution occurred based on his review of relevant surveys and the application of his

 4   specialized knowledge in the field to the results of those surveys.” No. 02:01-CV-0294-

 5   LRH(LRL), 2006 WL 3248394, at *3 (D. Nev. Nov. 7, 2006). The court further noted that

 6   Simonson “relied on surveys conducted by Visa in 2000, his own validation survey, studies

 7   of on-line payments from 2000 to 2001, and his own personal expertise to reach the

 8   conclusions in his opinion.” Id.

 9          In Starbucks Corp. v. Lundberg, the defendant moved unsuccessfully for an order

10   “excluding all testimony and evidence relating to plaintiffs’ proposed expert, Itmar [sic]

11   Simonson, Ph.D. (Simonson), the survey he directed, and the accompanying report.” CV No.

12   02-948-HA, 2005 WL 6036699, at *1 (D. Ore. May 25, 2005). The court allowed

13   Simonson’s testimony, and the survey, noting:

14          Here, according to its Introduction, the survey had two purposes: (1) to determine
            whether consumers are likely to associate the “Sambuck’s Coffeehouse” name with
15
            Starbucks, which would indicated that “dilution of the ‘Starbucks’ mark is likely to
16          occur” and (2) assuming the analysis leads to the conclusion that “Sambuck’s
            Coffeehouse” brings to mind the “Starbucks” mark, to examine the impact of such a
17          mental association on the “Starbucks” mark’s uniqueness and distinctiveness. Pls.’s
            Opp. to Def’s Mot. In Limine to Exclude Expert Test, of Professor Itamar Simonson,
18          Ex. 1 at 4.
19   Id. at *2.
20
            In neither Visa Int’l nor Starbucks was Simonson permitted to offer the same kind of
21
     testimony he offers here: his own personal view unsupported by any survey or other
22
     objective, verifiable evidence. If any state or federal court has admitted such Simonson
23
     testimony, neither the Opposition nor Simonson’s new declaration made note of this.
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 1   Contrary to Defendant’s claim that numerous other courts have admitted similar Simonson

 2   testimony, this Court would in fact be plowing new ground.

 3          Defendant takes a swipe at Plaintiff’s expert Silverman, but no motion has been made

 4   to exclude Silverman’s testimony. In any event, Defendant’s critiques of Silverman are not

 5   well taken. Defendant implies that Silverman stated that he has testified many times in

 6   dilution cases; that he has never used quantitative or qualitative surveys in dilution cases; and

 7   that focus groups are not very helpful. In fact, Silverman explained that this is the first

 8   dilution case in which he has served as an expert. Deposition of Bruce G. Silverman,

 9   Opposition Exh. C, at 69:25–70:3. He testified that, in his real world experience, he has

10   observed more than 3,500 focus groups to determine what consumers thought about a variety

11   of products, including alcoholic beverages and pet products. He further testified:

12          Qualitative studies are used far more than quantitative studies to get at thoughts and
            feelings because thoughts and feelings are very difficult to get at through quantitative
13
            studies. The nature of quantitative studies is you just have to interview so many people
14          that today in most instances quantitative studies are done via the Internet. So it’s a
            matter of consumers answering on a scale of 1 to 7 or 1 to 10, and you obviously have
15          no opportunity to interact. You have no opportunity to see physical reactions. So both
            qualitative and quantitative studies[’] research techniques are very useful.
16
     [Id. at 74:12-24].
17
            However, the words of an article quoted by Defendant are well taken. Alexander F.
18
     Simonson, How and When Do Trademarks Dilute: A Behavioral Framework to Judge
19
     “Likelihood” of Dilution, observes:
20
            It is the premise of this article that as surveys have become the empirical fodder for
21          trademark-confusion litigation, so too empirical realities must eventually take root in
            dilution jurisprudence. As judges become more empirically demanding, predictions of
22
            reality will be guided less by intuition and more by real evidence and arguments
23          based on firm behavioral underpinnings. The future of dilution analysis rests,
            therefore, with understanding and predicting these behavioral patterns so that one can
24          properly assess the probability or likelihood of dilution. Just as economic
            understanding is crucial in tort jurisprudence, so too the ability to marshall behavioral
25          principles and empirical realities will become critical in dilution cases.
26

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 1   83 Trademark Rep. 149, 149-50 (1993) (emphasis added).

 2          3.     The Great Weight Of Authority Requires Exclusion Of Simonson’s
                   Unsupported Testimony; Defendant’s Description Of The Case Law
 3
                   Is Misleading.
 4
            Defendant describes LG Electronics U.S.A., Inc. v. Whirlpool Corp. as “permit[ing] an
 5
     expert to testify based on his extensive expertise in consumer research and marketing, despite
 6
     the fact that he did not himself perform a survey or other test.” Opposition at 11:14-24 (citing
 7
     LG Elec. U.S.A., Inc. v. Whirlpool Corp., No. 08 C 242, 2010 WL 3397358 (N.D. Ill. Aug.
 8
     24, 2010)). The subject expert, however, was a rebuttal expert who was merely critiquing the
 9
     work performed by the other side’s expert. The court notes that, “Dr. Wind has reviewed
10
     Whirlpool documents, including the surveys conducted by Insperience, to rebut Dr. Nowlis’
11
     criticism of the Reitter Survey’s conclusions.” Whirlpool Corp., 2010 WL 3397358, at *15.
12
     Thus, while the expert himself did not conduct a survey, he was merely a rebuttal expert, and
13
     he specifically relied on surveys performed by others.
14
            In Clear With Computers, LLC v. Hyundai Motor Am., Inc., the court makes clear that
15
     the challenged expert was using both “his marketing expertise and data provided by HMA”;
16
     he specifically testified that web tracking data provided by Hyundai Motor America “was
17
     more reliable for marketing analysis than surveys.” No. 6:09-CV-479, 2012 WL 8144915, at
18
     *5 (E.D. Tex. Jan. 9, 2012), aff’d, 496 Fed. Appx. 88 (Fed. Cir. 2013).
19
            In Half Price Books, Records, Magazines, Inc. v. Barnesandnoble.com, LLC, the
20
     challenged expert specified objective evidence in support of his opinions, namely “widely
21
     used dictionary and thesaurus entries of the terms ‘half’ and ‘half-price.’” No. 3:02-CV-
22
     2518-G, 2004 U.S. Dist. LEXIS 23691, at *16 (N.D. Tex. Nov. 22, 2004). Simonson
23
     provides no such external support with respect to the two products at issue in this case.
24

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 1          In its opening brief, Plaintiff noted that a source cited by Simonson as authoritative—

 2   namely, Jacob Jacoby, The Psychological Foundations of Trademark Law: Secondary

 3   Meaning, Genericism, Fame, Confusion and Dilution, 91 Trademark Rep. 1013, 1013-71

 4   (2001) (“Jacoby”)—expressly recognizes the availability of testing for tarnishment. All of the

 5   sudden Jacoby became not so authoritative in the eyes of the Defendant. Defendant argues

 6   that the survey described in Jacoby’s article related to a case decided under Missouri’s anti-

 7   dilution statute, which is irrelevant to whether such surveys are possible. Opposition at 13-14.

 8   Defendant further argues that neither the District Court nor the Eighth Circuit on appeal

 9   analyzed Jacoby’s survey—facts that hardly show unreliability. Defendant then argues that

10   two surveys by Jacoby were rejected in other cases, which merely goes to show that a survey

11   must be properly designed in order to be admissible. Id.

12          In Hangarter v. Provident Life and Accident Insurance Co., the challenged expert in

13   insurance bad faith “has twenty-five years’ experience working for insurance companies and

14   as an independent consultant.” 373 F.3d 998, 1015–16 (9th Cir. 2004). His experience has

15   included evaluating insurance claims, assisting insureds in dealing with insurance companies

16   to obtain payment of their claims, marketing insurance products, and evaluating insurance

17   policies.” He “received training on how insurance companies in general, and Defendants in
18   particular, adjust claims.” Id. Here, there is simply no evidence of any real world experience,

19   data, research, or other information that would supply the missing link between what

20   Simonson did (looked at the two products) and what he concluded (likelihood of dilution).
21   Courts exclude such unsupported testimony. See, e.g., AT&T Wireless Servs. of Calif. LLC v.

22   City of Carlsbad, 308 F.Supp. 2d 1148 (S.D. Cal. 2003) (excluding specialized knowledge

23   expert; “What is notably lacking, despite the City’s assertion to the contrary, is any evidence

24   that explains for the court how the review of the documents allowed Kramer to conclude the

25   availability of alternative sites” for wireless antenna); Vaughn v. Hyster Co., Inc., No. 4:09-

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 1   CV-570-VEH, 2010 WL 9936530, at *4, 10 (N.D. Ala. Dec. 3, 2010) (excluding experience-

 2   based witness; “the burden of establishing qualification, reliability, and helpfulness rests on

 3   the proponent of the expert opinion…”; plaintiffs “offered no explanation, no factual support,

 4   no case law, and no argument to support a conclusion that the methodology used by Gamel in

 5   formulating his opinions is reliable. . . . Based upon the record, the court cannot conclude that

 6   the methodology used by Gamel in formulating his opinions is reliable”).

 7                                          CONCLUSION

 8          Daubert motions often present gray areas. Sometimes courts admit even “shaky”

 9   expert testimony with the thought that challenges can be sorted out through cross-

10   examination at trial. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596 (1993). As

11   Samuel Johnson observed, however, the existence of twilight does not mean there is no

12   difference between night and day. This is a clear-cut case. There simply is no reliable,

13   testable, scientific, or real-world support for Simonson’s untethered speculations about how

14   average people are likely to respond to the products at issue in this case. Based on the

15   foregoing, Simonson’s testimony and report should be excluded.

16          RESPECTFULLY SUBMITTED this 30th day of October, 2015.

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 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that on October 30, 2015, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to all CM/ECF registrants.
 5

 6                                    s/ Kristi A. Arendt
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